       Case 5:17-cv-00097-JLH Document 17 Filed 07/25/17 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         PINE BLUFF DIVISION

THOMAS LEE STONE, ADC #090693                                          PLAINTIFF

V.                      CASE NO. 5:17CV00097 JLH-BD

RICHARD CLARK                                                        DEFENDANT

                                  JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is hereby DISMISSED, WITHOUT

PREJUDICE.

     IT IS SO ORDERED this 25th day of July, 2017.



                                         ________________________________
                                         UNITED STATES DISTRICT JUDGE
